       Case 1:24-mc-00101-EGS            Document 18         Filed 12/11/24      Page 1 of 6




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


 DMITRI MEHLHORN,

                                                                   Case No. 1:24-mc-00101 (EGS)
                                    Plaintiff,
                                                                   Underlying Litigation:
                        v.                                         No Labels v. NoLabels.com Inc.,
                                                                   No. 23 Civ. 1384 (D. Del)
 NO LABELS,
                                   Defendant.


                                     JOINT STATUS REPORT

      Plaintiff Dmitri Mehlhorn and Defendant No Labels respectfully submit this joint status

report in response to the Court’s December 3, 2024 Order. The parties have not resolved

Mehlhorn’s pending motion to quash No Labels’ non-party subpoena, see ECF 1 (the “Mehlhorn

Motion”), and state their respective positions below.

      A. Petitioner Dmitri Mehlhorn provides the following update:

      Mehlhorn’s position is that the Mehlhorn Motion should be resolved according to the same

electronic discovery protocol that the parties negotiated—and that No Labels agreed to use—to

resolve the substantively identical non-party subpoena at issue in Steward v. No Labels, No. 5:24-

mc-80209 (N.D. Cal.) (the “Steward Action”). Over the last month, we have communicated that

position on at least four occasions to counsel for No Labels, which refused to engage in any

meaningful discussion, until surprising us this morning with a litigious, incomplete, and

misleading unilateral draft status report rejecting that proposal and offering no alternative. For the

reasons briefly outlined below, the negotiated protocol developed with the guidance of Magistrate

Judge van Keulen’s thoughtful October 24, 2024 Tentative Decision remains the only sensible way

forward.
       Case 1:24-mc-00101-EGS            Document 18        Filed 12/11/24      Page 2 of 6




      In her October 24, 2024 Tentative Decision, Magistrate Judge van Keulen recognized the

First Amendment interests and the non-party burden issues presented by the non-party subpoena

at issue (“Steward Subpoena”) and, “after balancing the relevant considerations,” the Court

indicated that Steward should “produce a very-limited set of documents,” focused principally on

the website at issue in the underlying trademark litigation. ECF 17-1 at 1. In so doing, Magistrate

Judge van Keulen indicated the Court’s approval of a set of search terms that Steward proposed to

No Labels, which focus only on the allegedly infringing website domain. See ECF 17-1 at 1-2

(citing Steward Action, ECF 19-2 at 23-25). Counsel representing Steward had proposed that set

of search terms to resolve both the Mehlhorn and Steward Subpoenas, in response to a proposal

from No Labels that likewise proposed a single set of search terms that would apply equally to

both subpoenas. See ECF 1-3 at 108, 110. Magistrate Judge van Keulen also identified a limited

list of counterparties with whom communications and shared files could be responsive, all relating

to the specific website and domain at issue. ECF 17-1 at 2.

       In view of that Tentative Decision, the parties held two meet-and-confers and exchanged

email correspondence, and ultimately agreed to a detailed search protocol to govern the search and

review of Steward’s documents and communications, including an agreed date range and sets of

search terms consistent with Magistrate Judge van Keulen’s guidance. The parties informed

Magistrate Judge van Keulen of that agreement on November 8, 2024, and the court vacated a

conference and closed the case. See Steward Action, ECF 29.

       Counsel for Steward (and Mehlhorn) diligently executed the agreed protocol, within the

timetable that we previewed during those meet-and-confers, which included work over the

Thanksgiving holiday, to say nothing of substantial cost to Steward. Upon the conclusion of that

process, we sent a detailed letter, describing the search process, including with respect to specific



                                                 2
        Case 1:24-mc-00101-EGS                Document 18           Filed 12/11/24        Page 3 of 6




devices, databases, and sources. In full transparency, that letter also noted the existence of an

information security policy, which was in place long before No Labels commenced the underlying

action in Delaware. While No Labels’ unilateral status report sent to us this morning attempts to

suggest otherwise, there is no indication that any responsive documents were deleted, or ever

existed—and No Labels fails to mention that our letter also confirmed appropriate preservation

steps were taken promptly upon their service of a subpoena. No Labels also fails to acknowledge

the sworn testimony, from both Steward and Mehlhorn that they had “no involvement in the

formation of Nolabels.com Inc., the purchase of the nolabels.com domain, or the creation of the

website at the nolabels.com domain.” Steward Action, ECF 1-7 at 4 (Steward Decl. ¶ 10); see also

ECF 1-3 at 98 (Mehlhorn Decl. ¶ 10). Accordingly, the lack of responsive documents—which we

told No Labels to expect—is no surprise.

        No Labels offers no basis to suddenly treat Mehlhorn and Steward differently, given that

Mehlhorn and Steward were colleagues in Investing in Us (Mehlhorn is a co-founder and Steward

is Managing Director) throughout the relevant timeframe, the subpoenas are substantively

identical,1 and No Labels itself negotiated their protocols jointly until now. See ECF 1-3 at 107–

110; see also No Labels’ Opp. to Dmitri Mehlhorn’s Mot. to Quash Subpoena at 14, ECF 8

(expressing a desire “to avoid disparate rulings on similar matters and preserve judicial

resources”). The fact that execution of Steward’s document protocol confirmed what Steward and

Mehlhorn have already said under oath—that they were not involved with the website at issue—

is not a reason to authorize expanded fishing expeditions through the files of irrelevant non-parties

who happen to be political adversaries footing the bill. Accordingly, the Court should resolve the




1
 The only differences between the two non-party subpoenas are the recipient names and the locations of compliance.
Compare ECF 1-3 at 63–74, with Steward Action, ECF 1-4.

                                                        3
       Case 1:24-mc-00101-EGS            Document 18         Filed 12/11/24      Page 4 of 6




Mehlhorn Motion by ordering the parties to apply the same search protocol to which they have

already agreed.

      B. Respondent No Labels provides the following update:

       This case is one of three miscellaneous actions filed by non-parties that received subpoenas

issued by No Labels in the underlying action. The subpoenas were served on or about June 7,

2024, over six months ago. The respective plaintiff(s) in each of the miscellaneous actions filed a

motion to quash the subpoena, and all objected to requests to coordinate these disputes before the

discovery master appointed in the underlying action. The law firm representing the plaintiff in

this action also represents Rae Steward, the plaintiff in a miscellaneous action filed in the District

Court for the Northern District of California. Steward v. No Labels, 5:24-mc-80209 (SVK)

(“Steward action”).

       On November 14, 2024, plaintiff Dmitri Mehlhorn filed a notice of supplemental authority

to advise the Court of a tentative ruling the Magistrate Judge in the Steward action issued for that

motion to quash. (Dkt. 17-1.) Mehlhorn also notified this Court that the parties in the Steward

action met and conferred and agreed upon a search protocol that Rae Steward and counsel were

required to perform. That discussion followed the court’s issuance of a tentative ruling, providing

guidance on how the court planned to rule. Because the parties agreed on a search protocol in the

Steward action, that court canceled the hearing for the motion to quash and closed the matter

without issuing a final ruling. (Dkt. 17-2.)

       Steward and her counsel agreed to the search protocol on November 8, 2024, but did not

advise counsel for No Labels until December 6, 2024 (one day after being asked for an update)

that because of an “operational security policy dated November 22, 2023” (around the same time

the Nolabels.com website was being activated), many communications were automatically deleted



                                                  4
       Case 1:24-mc-00101-EGS            Document 18        Filed 12/11/24      Page 5 of 6




and Steward otherwise had no documents to produce. The court in the underlying action has

authorized No Labels effort to pursue discovery to determine the extent of the unlawful

conduct. No Labels is taking all reasonable steps to do so, and is entitled to complete responses

and production of all discoverable materials, including a copy of the operational security policy

that was implemented at a key moment during the deployment of the Nolabels.com website.

       Discovery is set to close in the underlying action on December 16, 2024, although No

Labels has asked the Delaware court to extend the deadline, in part because of the difficulty in

obtaining document production from the third parties that have filed motions to quash. It is

unknown when, or how, the court will rule on that request.

       Mehlhorn stated in his notice that the parties were discussing a similar agreement in this

matter. The parties did discuss a possible resolution in this action, but No Labels does not believe

the subject individuals are similarly situated – Mehlhorn cofounded the political investment fund

that hired Lucy Caldwell, one of the primary actors and political consultants in this situation. No

Labels believes that the limited protocol agreed to for Steward is insufficient – especially in light

of the recent statement that many of her communications were deleted because of an “operational

security policy.”

       Accordingly, No Labels respectfully requests that the Court rule on Mehlhorn’s motion to

quash as soon as reasonably possible. To expedite resolution, No Labels submits that the dispute

can be resolved without oral argument.



Dated: December 11, 2024

                                                        _________________________
 Mark D. Lytle (D.C. Bar No. 1765392)                   John C. Quinn*
 NIXON PEABODY LLP                                      Hyatt Mustefa*
 799 9th Street NW, Suite 500                           HECKER FINK LLP


                                                 5
     Case 1:24-mc-00101-EGS         Document 18    Filed 12/11/24     Page 6 of 6




Washington, DC 20001                            350 Fifth Avenue, 63rd Floor
Phone: (202) 585-8000                           New York, NY 10118
Fax: (907) 331-4726                             (212) 763-0883
Email: mlytle@nixonpeabody.com                  jquinn@heckerfink.com
                                                hmustefa@heckerfink.com
Theodore A. Kittila (D.C. Bar No. 165939)       *admitted pro hac vice
HALLORAN FARKAS + KITTILA LLP
5801 Kennett Pike                               Jackson Erpenbach (D.C. Bar 1735493)
Wilmington, Delaware 19807                      HECKER FINK LLP
Phone; (302) 257-2025                           1050 K Street NW, Suite 1040
Fax: (302) 257-2019                             Washington, DC 20001
Email: tk@hfk.law                               (212) 763-0883
                                                jerpenbach@heckerfink.com
Attorneys for No Labels
                                                Attorneys for Dmitri Mehlhorn




                                            6
